Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 1 of 18

20 (Pages 74 to 77)

Page 76
moray

your attention to page 87 of the Plan,
Section 7.15, and what I would like you to
do, because I have a series of questions
about it, is why don't you take a few
moments to review Section 7.15. In fact,
if you want to take a break at this
point -- }
MR. BROWN: Does thatmake

sense? Okay.

MS. HARDING: Well, I mean,
how long is it, again?

THE WITNESS: Seven
pages.

MS. HARDING: Five-minute
break?

MR. BROWN: That's fine,
yes.

(Recess taken.)

BY MR. BROWN:

Q. Mr. Finke, we had a short
break and before that I directed your
attention to Section 7.15 of the Plan
entitled Insurance Neutrality. Did you
have an opportunity to review that section

Page 77

during the break?

A. Yes.
Q. This was not one of the
sections that you mentioned in your prior
testimony that you were -- that you did
not understand. Is it safe to say that
this is a provision that you do
understand? And I'm asking that question,
really, in your capacity as an individual
and as the designee on this subject for
the debtors.
MS. HARDING: Object to
form.
A. Yes, I believe I understand
it.
Q. Okay. Can you turn to
Section 11.9 of the Plan, and that's
entitled Exculpation, and if you'd take a
moment to review that section.
(The witness reviews the document.)
A. Okay.
Q. Given the language in
Section 7.15, am I correct that asbestos

insurance entities are not bound by the

Page 74 E€
1 MS. HARDING: Which also 1
2 were not designated 30(b)(6) topics Zz
3 by any person who -- 3
4 MR. BROWN: Can I ask that 4
5 we just let the witness answer the 5
6 question? 6
7 MS. HARDING: Well, I think 7
8 if you want to ask him questions 78
9 about topics that were designated 9
10 that you asked him to become 10
11 familiar with, then -- 11
12 MR. BROWN: I didn't ask 12
13 him a question about the tax annex. 13
14 It was in his answer. 14
15 MS. HARDING: Well, that's LS
16 because you asked him about any 16
17 provision of the Plan. You 17
IL 8 asked -- we tried to prepare the Cis _
19 witness to answer questions about Tho
20 topics that everybody asked about. 20
21 MR. BROWN: All right. 21
22 I'll ask my question again. If you 22
23 have an objection and you want to 23
24 instruct him not to answer, then do 24
Page 75 |.
1 it and we'll move on. = 1
2 BY MR. BROWN: 2
3 Q. Mr. Finke, as you sit here 8
4 today looking at the Joint Plan, can you 4
5 identify particular provisions that you do 5
6 not understand? 6
7 MS. HARDING: Object, asked 7
8 and answered, but answer one more 8
time if you'd like. 9
10 A. In addition to what I've 10
11 already identified, the provision on the (2
12 warrants is not entirely clear tome. And [t2
13 if spent the time to go through the cals
14 document page by page, there may be a few 4
15 other sections that I don't feel very 5
16 comfortable with in terms of the level of 6
17 my understanding. 7
18 Speaking on behalf of W.R. Grace as .8
19  awhole, there are individuals who 9
20 understand those sections and, taken as a 0
21 whole, I think W.R. Grace does havea good 1
CL22 understanding of the Plan. PR's Oy). P2
23 Q. Okay. Well, let me take *5®+ /)3
24 your counsel up on her offer and direct i

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 2 of 18

et’s Ob:

21 (Pages 78 to 81)

rs
7
Fe

cL

wo ep oN ee WEN

fe
Oo

CLL

CH.

word dM sone

R,BE — Page 78

exculpation provision in Section 11.9 of

FPOODINDEUBRWNHEPOOCDIATARWNE

the Plan? C1.
MR. LIESEMER: Object to “~).pp‘;
the form. Ce
MS. HARDING: Object to the
form.
A. I believe they -- the

asbestos insurance companies are bound by
Section 11.9.

Q. They are bound?

A. Yes.

Q. Ifyou go back to 7.15,
where is that set forth? .

MS. HARDING: Object to) Fy's |
form.

MR. LIESEMER: Same
objection.

A. Well, of course, there's no
provision in Section 7.15 that
specifically states that the insurers are
bound by Section 11.9. I assume that's
not what you're asking, but -- well,
literally, I think that is what you asked,
SO --

Page 80

It also calls for a legal

conclusion.

(The witness reviews the document.)
A. Okay. I would direct you

to Section 7.15(h) which states that "the
asbestos insurance entities shall be
subject to the releases and injunctions to
the extent described in this Plan" so my
answer to your question is that I believe
any provisions in the Plan that would
constitute a release or an injunction, and
I would include 11.9 in that language, are
binding on the asbestos insurance
entities.

Q. So your testimony is that
7.15(h) includes through its language
Section 11.9?

A. Yes, that is how I read

it.

Q. What consideration, if any,
are Grace's insureds getting under the
Plan in exchange for the exculpation
provision in 11.9?

MR. LIESEMER: Objection to

my

Q. Yes, that is what I asked.

A. -- that's my answer then.

Q. So there's nothing in 7.15
that says that they're bound by 11.9 but
your testimony is that they are in fact
bound by 11.9?

A. Yes.

Q. Are there any other
provisions in the Plan that are not
specifically spelled out in Section 7.15
for which the insurers are bound
notwithstanding Section 7.15?

MS. HARDING: Objection f0"7 pp’, |}
form, and I think it misstates his é4r
testimony.

THE WITNESS: I'm sorry. ~~
Could you read back the question?

(The reporter reads the
pending question.)

MS. HARDING: Object to
form. I think it's confusing,
speculative. I don't see how you
can possibly answer that question.
But if you can answer it, go ahead.

‘

PTs
ows
&
Ge,

Page 81
form.
MS. HARDING: Objection to
Ls form. —

A. Allright. First, your
question assumes that the insurance
entities would be entitled to some
consideration in exchange for being bound
by Section 11.9. I don't know that to be
the case. I don't know that they're not
entitled to it either.

But as far as consideration, if one }

had to justify being bound by Section 11.9
on the basis of consideration, I think the
answer with respect to asbestos insurance
entities would also apply to all parties
involved in the Chapter 11, which is that
the entities and individuals covered by

the exculpation have been active in the
business of these Chapter 11 cases, they
have had to take positions, make
arguments, make decisions, et cetera, that
affect one or more parties involved in the
Chapter 11 cases and have thereby exposed

themselves to potential liability, I

=H

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 3 of 18

TPs Obi:

22 (Pages 82 to 85)

cal Rs BE tase a] ea ase 5
| 1 suppose, for their acts or omissions. And i: A. Icould spend the time to PFs
2 the Chapter 11 itself could not proceed to ‘| 2 look for it if you'd like. | Ow):
| 3 the point of resolution without the | 3 Q. No, let's try this a little i R;
4 efforts of these entities and these '4 differently. Look at 7.15(a). BE
| 5 individuals. So to the extent -- so there | 5 A. Okay. | =
|| © is a-- in order to encourage and a) 6 Q. Itsays "Except to the
|| 7 facilitate the activities of the parties 17 | extent provided in this Section 7.15, !
|| 8 listed in Section 11.9, it is my : 8 notwithstanding anything to the contrary !
9 understanding that it is common in these | 9 in the Confirmation Order, the Plan or any | |
10 types of bankruptcies to provide 10 of the Plan documents -- nothing in the i
‘(11 exculpation of those entities and pi Confirmation Order, the Plan or the Plan }
12 individuals for their activities, and I'm 12 documents, including any other provision }
//13 quoting here from 11.9, "In connection a that purports to be preemptory or i
114 with or arising out of the Chapter 11 / 14 — supervening, shall in any way operate to t
|15 cases." It is their participation and the Fe or have the effect of impairing any |
‘(16 fruits of their participation that would | 16 — asbestos insurance entity's legal, i
17 constitute consideration. 17 equitable or contractual rights, if any, i
18 Q. I want to circle back to a 18 in any respect." Have I read that
: 19 question that I asked a few questions ago .9 correctly? i
20 concerning 7.15 and I asked you a question 20 A. I believe so. }
1 to the effect of other than what's i} 1 Q. Okay. And what I'm asking j
22 specifically set forth in Section 7.15 are |22 is: Given that broad statement, are there }
(23 there any other provisions in the Plan or [ 3 any other provisions in the plan that are i
24 Plan documents that are bindingupon | 24 _ notset forth in 7.15 that override the |
C2 “fe Page 4 ee "Page 84 7)
1 Grace's insurers, and in answer to that 1 Janguage in 7.15(a)?
2 question you referred me to subsection (h) | 2 ~ MS. HARDING: Object to PP's
3 and how 11.9 in the debtor's view was ‘| 3 © form. Cre
4 encompassed within the language of (h). | | 4 A. Based on the language of
5 So I want to go back to that f |5  7.15(a), and if I'm understanding it as it
6 question and ask: Other than 11.9, is |6 — was intended, it states by its terms that
7 there anything else? _{| 7 nothing else in the Plan or any of the
8 A. I'm-- | 8 Plan documents would operate, you know, to
9 MS. HARDING: Object to |9 impair the -- an asbestos insurance
1.0 form. I think it's confusing 0 entity's rights.
11 and I'll leave it at that. If you pL Q. Sois your answer no?
CLIL2 can answer, go ahead. ae MS. HARDING: Object, asked
)i3 A. I believe there is a more PP'> F134 and answered, but... ii ae
14 general provision relating to the binding %y. 14 A. Based on the language in PCa
15 nature of court orders, findings, et ®8E 515 — 7.15(a), my answer would be no, subject od):
/{16 cetera. That is what I was looking for /16 _ to -- subject to wanting to review the ! R,
'({.7 initially in response to your answer and 17 remainder of the Plan because, as I RE
| {18 then I remembered the provision in 7.15(h) {8 mentioned, I do have in mind that there is
| {19 and so I've directed you to that 4 9 one or more general provisions concerning
| 20 provision. If you want me to spend the $20 — the applicability or binding nature of
21 time -- I do not know where in that Plan 21 court orders, court findings and the like.
|22 that more general provision is that I have 22 And while I understand 7.15(a)
}23 in mind. 43 + appears to act in such a way that would :
{24 . Well -- 24 _ make my proviso in my answer irrelevant, I
je Q on YP y _I]
Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 4of18

PFs Gb.- 23 (Pages 86 to 89)
CL) W, 86 2 Page 86 . ct Page 88 Pr’
1 would still feel more comfortable having *\1 know that it is, per se, defined. one.
2 found and reviewed those other provisions =| 2 MS. HARDING: Where is it we
3 before giving an unequivocal "no". 13 in the TDP? Ry,
4 Q. Let's do this because we }4 MR. BROWN: It's in Section BE
| 5 don't want to waste time. Why don't we -- || 5 5.13.
6 I'm going to continue on. We'll obviously |) 6 MR. COHN: Is that on page |
|| 7 have breaks. And during one of those 7 49 of the TDP?
|| 8 breaks, why don't you look for whatever 8 MR. BROWN: I don't know t
| 9 — provision it is that you -- or provisions a) ° the page number. 1
‘(LO that you think you're talking about and H10 THE WITNESS: Page 49, {
).1 then when we return from our break, even | 11 yes. i
Ih2 if I'm not the questioner, would you bring | 12 A. Based on Section 5.13 of
{3 those one or two sections up to me? That |3 the TDP and on the basis that a holder of
‘114 — will save us some time. |4 an indemnified insured TDP claim i
15 A. That's fine. t 5 potentially may have that claim paid by t
‘116 Q. Allright. [ want to focus H 6 the PI Trust in accordance with Section |
‘|L7 your attention now on 7.15(b). 17 5.13, I would interpret such a holder to i
18 (The witness reviews the document.) \ 8 bea beneficiary of the PI Trust. \

19 A. Okay. t 9 Q. Okay. So let's just take |

20 Q. You see on the second line 20 one of my clients, for example. Let's |
21 there rolling over to the third line the ‘1 take Seaton Insurance Company. If Seaton j
| 22 phrase "The beneficiaries of the Asbestos | £2 Insurance Company has an indemnified f
| 23 PI Trust"? Do you see that? 23 insured TDP claim, then Seaton Insurance 5
pA A. Yes. £ Company, as I understand 7.15(b), is bound

— Pa 7

Ca, ge af OL Page 89 \
1 Q. What do you understand that 1 __ by the Plan, the Plan documents and the
WE term to mean? wel |L2_ confirmation order? J
3 MR. LIESEMER: Object to 3 MR. LIESEMER: Object to FP
CLs the form. 4 the form. Cer
5 Q. What does that term mean? PP; | 5 MS. HARDING: Object to the
6 A. Tunderstand it to mean Ob): 8 oes CL. form.
7 holders of asbestos PI claims. Ry I 7 Q. DoI have that correct? 1 Pts
8 Q. Okay. And does that BE #)| 8 A. I believe so, yes. Obj:
9 include holders of indirect Asbestos PI | 9 Q. Okay. And is it bound by i.
LiLo Trust claims? ; 4¥O = the Plan, Plan documents and confirmation >
iit MR. LIESEMER: Object to 11 order insofar as it may also be listed as | Be
ciple form. __ 12 |‘ being a partially settled insurer?
| 13 A. Yes. er, HS MS. HARDING: Object to the
| 14 Q. And does it include On : form. And are you referring to }

15 indemnified insurer -- does it -- excuse; }15 7.15(b)?

16 mie. Be glo MR. BROWN: Yes. "
1117 Does that term include the holders iC MS. HARDING: Back to |
\18 of indemnified insurer TDP claims? ais 7.15(b) when you asked that

19 MR. LIESEMER: Object to 19 question? j

cee the form. bo MR. BROWN: Yes.
[ 21 A. Is that a defined term? a hel A. I'm not sure I see the \
| 22 Q. Good question. Itisa Sey. 22 connection between Section 5.13 of the TDP i

23 term that appears in Section 5.13 of the *? 23 and your question, if there is any. f

|e Trust Distribution Procedures. I don't 14 The -- I believe the answer is they are f
Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 5 of 18

24 (Pages 90 to 93)

t

r~

PR's Oy:

PPP
WHR DMO ADMAITAORWNHE

PPE
O oid

ae
co ~

p9
20€21. the assumption of a confirmed plan.

2

23

‘ba

ee R, BE Page 90 |
1 bound to the same extent any asbestos
2 insurance entity is bound under the
3. Plan.

“4 Q. Mr. Finke, you understand,
5 don't you, that -- well, let's not do it
6 that way. Let's go to -- I think it's the
7 asbestos insurance transfer agreement.
8 MS. HARDING: Is that one
9 of our exhibits?

10 MR. BROWN: No, I'm sorry,

11 it's not that. It's Exhibit 5.

12 Q. Do you have Exhibit 5?

13 A. Retained causes of action?

14 Q. No. This is Exhibit 5 to

15 the Exhibit Book.

16 A. To the Exhibit Book.

17 MS. HARDING: I have a

18 copy. It's not his but you can

19 look at it if you'd like.

20 MR. COHN: What is the

21 document?

22 MS. BAER: It's Exhibit 5

23 to the Exhibit Book, Schedule of

24 Settled Asbestos Insurers. -

a a
1 (Exhibit 5 to Exhibit Book, @f’s |
2 Schedule of Settled Asbestos Ove |
3 Insurers Entitled to 524(g) eRe F
4 Protection marked for "co 7 F
5 identification as Exhibit
6 Finke-9.)
7 Q. What I'd like you, Mr.
8 Finke -- first of all, why don’t you i
9 identify what we've just marked as Exhibit |

10) 9? é

11 A. Okay. Finke Exhibit 9 is

12 Exhibit 5 to the Exhibit Book. It is

13 entitled Schedule of Settled Asbestos

14 Insurers Entitled to 524(g) Protection.

15 Q. Now, you understand, don't

16 you, that at least some of the insurance

17 companies that are listed on this schedule

18 have indemnity claims against the

19 debtors?

RO MR. LIESEMER: Object to

21, the form of the question. Ors

22 A. Yes, I believe that's Oe 4

23 correct. WORE F

pq Q. And to the extent that

Page 92

there are indemnity claims against the
debtor and to the extent that those are
asbestos-related, those fit within the
defined term "indemnified insured TDP
claims", correct?
MS. HARDING: Object to
form.
MR. LIESEMER: Join.
MS. HARDING: Are you
looking for 7.15?
MS. ALCABES: 5.13.
MS. HARDING: There you go.

A. No, I don't agree.

MR. BROWN: Could you read
back the last question?

(The reporter reads the
requested portion.)

A. No, I don't agree. My
understanding of Section 5.13 is this
provision would take effect only upon
confirmation of the Plan since the
definition indicates, or requires, that
the indemnified insuror TDP claim is

channeled to the PI Trust, which it can't

Page

93

be at this point.
Q. All these questions are in
the context of the Plan being confirmed.
A. Well, then I don't --
Q. Let me back up. I think
the record's kind of muddled at this
point.
A. Okay.
Q. Why don't you -- if you
look at the schedule of settled asbestos
insurance companies, I believe you'd
testified -- that's Exhibit 9 -- I believe
you'd testified that some of the companies
that are listed on there have contractual
indemnity claims against the debtors.
A. That was under the
assumption we were talking about current
claims. I didn't realize you had -- that
your questions were all in the context of

Q. Allright. If you look at
the schedule, you understand that the
insureds that are listed on here have
settlement agreements with the debtors,

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 6 of 18

PR's Ob: 25 (Pages! 94: ite), 9°)
cu _ R,GE_F Page 94| CL Page 96 :
1 correct? yi. Q. Let's get back to the rt }
2 A. Yes. |2 | insurance neutrality provision then, which 6h):
3 Q. And you also understand \3 is 7.15. R,
4 that certain of those settlement } 4 A. Okay. ge:
5 agreements have contractual indemnity | Q. Getting back to 7.15(b), t a
6 provisions in them, correct? | 6 this line of questioning talked with or
th A. Yes. | 7 started with the reference to the term,
8 Q. And I believe you testified 8 the phrase, "the beneficiaries of the
9 that those contractual indemnity 9 Asbestos PI Trust".
10 provisions are under the Plan to be 0 A. Uh-huh.
11 treated as indemnified insured TDP claims [11 Q. I'm alittle confused by
12 under Section 5.13 of the TDP. Is that 12 your testimony at this point. If you are }
13 correct? 13 the holder of an indemnified insurer TDP
14 A. No, no, that certainly ( claim post-confirmation, are you a
C115 wasn't my intent. beneficiary of the Asbestos PI Trust?
16 Q. Okay. How are they being ... MR. LIESEMER: Object to ™) 7) pp’,
17 treated under the Plan? PRs Thy the form of the question. Cre
18 A. As indirect PI Trust Obs Hilis MS. HARDING: Object to
19 claims. MRE F19Cct form. re
20 Q. Okay. Do you understand ¥ A. Assuming for the sake of a
21 indemnified insured TDP claims to be a argument such a claim could arise, my Or P
22 class of indirect PI Trust claims? understanding would be yes. 2
23 A. It appears to me to be MR. BROWN: All right. I'm 7 t>?
je | that, that they are the same. Or at least t going to shift gears. We'll mark x
cL [P Page 95 Page 97
1 I don't see a distinction. Whether they Bf) 1 another document. The document I'm
2 are intended to be or not, I don't know. |) 2 about to mark is one of our
3. Since we really were not involved in the | 3 settlement agreements so we can
4 drafting of the TDP, my -- 4 mark this portion of the deposition
5 Q. The "we" you're referring fi 5 subject to the protective order but
6 to is Grace? eee ae my 6 what I would like to do with this
7 A. Grace, yes§jMy bigger pr's Z one, like we did with Mr. Posner,
8 problem is that once the plan is confirmed | ctr 8 to the extent that no one objects
9  J[don't understand -- have not understood 9 to the extent that we, my clients,
10 and don't today how there can be such a 10 would like to use this portion of
11 claim under 5.13 since my understanding of | [11 the testimony without having it
12 the mechanics of the asbestos PI 12 under seal, we would be able to do
13 channeling injunction is that any claim 3 so without asking all parties to
14 against a settled insurer which is an 14 agree. Is that fair?
15 asbestos protected party would be barred 15 MS. HARDING: That's up to
16 and that claim would be channeled to the 16 you.
17 PI Trust and that that holder of that PI 17 MR. BROWN: All right.
18 claim, the sole resolution -- not 18 MR. LEWIS: Did you say
19 resolution -- the sole source for any 19 Mr. Posner?
20 recovery for the holder of that claim is 20 MR. BROWN: Yes.
21 the PI Trust. 21 MR. LEWIS: Okay.
22 So I have not understood, and still 22 (Settlement Agreement
23 don't, how any indemnified insurer TDP 23 Bates stamped OB 1 through 33
24 claim could arise. 24 marked for identification as
ont

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 7 of 18

29 (Pages 110 to 113)
Page 110 Page 112
1 about or been asked about the scenario 1 the definition or description of an
2 you're describing. 2 indemnified insured TDP claim.
8 Q. But if the claim is 3 Q. Okay. Let me ask you this
4 asserted by the insurers against Fresenius 4 then: What is the operative injunction in
5S Medical Care Holdings, it's being asserted 5 the Plan that accomplishes both the
6 against a non-debtor, correct? 6 enjoining and channeling of the claim that
7 MS. HARDING: Object to 7 we're talking about; namely, a claim for
8 form. 8 contractual indemnity running from the
9 A. In the first instance, 9 insurers against Fresenius Medical Care
10 yes. 10 Holdings, Inc.?
11 Q. And that would then take it a A. The --
12 outside the definition of indirect PI 2) MS. HARDING: Object to
13 Trust claims which by definition have to 13 form.
14 be against the debtor, right? 14 MR. LIESEMER: Object to
15 MS. HARDING: Just object 2 form.
16 to form in terms of the 16 A. The asbestos PI channeling
17 hypothetical. I'm not sure where 17 injunction.
18 we are in the hypothetical, but go 18 Q. Does the successor claims
19 ahead. 19 injunction in the Plan also enjoin the
20 A. Well, I understand what 20 claim?
21 you're saying and, yes, if you were to 21 MR. LIESEMER: Object to
22 stop right there I would agree with you. IZ form.
23 But when you add in what I think is a 23 MS. HARDING: Object to
24 fact, which is that Grace would owe an 24 form to the extent we're still
Page 111 Page 113
1 indemnification obligation to FMCH in 1 talking about the hypothetical.
2 those circumstances, the reality of your 2 A. No, I don't believe so.
3 hypothetical is that the claim would 3 Q. Allright, I want to ask
4 be ultimately a claim against the 4 you now, Mr. Finke, a sort of more broad
5 debtors. 5 question. Class 6 includes, among other
6 Q. So is it your testimony on 6 things, individual asbestos claimants'
7 behalf of Grace that the claim I've 7 claims against Grace, correct?
8 described, running from the insurers 8 MS. HARDING: Object to
9 against Fresenius, that is in fact an 9 form.
10 indirect PI Trust claim? 10 MR. LIESEMER: Join.
11 MS. HARDING: Object to 11 A. Did you say asbestos claims
2 form. 12 or asbestos PI claims?
13 MR. LIESEMER: Object to 3 Q. I'm using it generically.
14 form. 14 ‘Fair enough, that's a fair -- the
15 A. That is my view, yes. (15 purpose -- Grace has been sued in a number
1 6 Q. Is it also your view that 16 of asbestos personal injury claims,
17 that claim would be an indemnified insurer [17 correct?
18 TDP claim as described in Section 5.13 of {18 A. Yes.
19 the TDP? 19 Q. Okay. And those claims,
20 MS. HARDING: Same 20 among other claims, are classified as
21 objection. 21 Class 6 under the Plan, right?
22 MR. LIESEMER: Object to 22 A. Yes.
23 form. 23 Q. And indirect PI Trust
24 A. _ Yes, it does appear to fit 24 claims that we've just been discussing

=
Case 01-01139-AMC Doc 22330-3

Filed 07/02/09 Page 8 of 18

30 (Pages 114 to 117)
Page 114 Page 116
= PRS:
1 they're also Class 6 claims, correct? Gre! 1 of asbestos PI claims. It is those --
2 A. Correct. 2 _ those set of circumstances that result in
3 Q. And indemnified insurer TDP 3 all of these claims being classified as
4 claims are also Class 6 claims, correct? |©4_4_ Class 6 claims. Pt;
5 A. I believe so but I'm going 3 Q. What are the similarities od).
6 to go back and reread the definition 6 between the claims; that is, between the R
7 again. 7 personal injury claims and the contractual BG
8 Q. Okay. 8 indemnity claims, if any?
9 (The witness reviews the document.) 2 MS. HARDING: Object to my
10 A. Yes. pie © lO form.
11 Q. Can you describe for me the 11 MR. LIESEMER: Object to
12 factual basis for putting all of those C2 form. PP}
13 claims in the same class? 13 A. Assuming you're referring Oe:
14 MS. HARDING: Object to 14 to contractual indemnity claims arising RQ
15 form. Calls for -- to the extent 15 out of, directly or indirectly, an Be
16 that it calls for a legal 16 asbestos PI claim, the similarity is that
17 conclusion and -- 17 the underlying claim is by a person who
18 A. I would refer to the -- 18 alleges -- and I'm just paraphrasing
19 THE WITNESS: I'm sorry. 19 because I don't want to read this entire
20 MS. HARDING: -- and 20 definition -- but alleges that he has
21 attorney-client work product 21 contracted an asbestos-related disease due
22 privileges to the extent that they 22 to exposure to asbestos from a Grace
23 apply. But if you can still 23 product or operation.
24 answer, go ahead. 24 Q. Anything else?
Page 115 Page 117
1 A. My answer would be to refer i MS. HARDING: Object to
2 to the terms of the Plan and the 2 form.
3 definitions. The definitions of asbestos 3 A. I don't understand your
4 PI claims would incorporate the factual cL | 4 question. er’
5 _ basis of those claims. 5 Q. My question is: Is there ~h Be.
6 Q. Allright. I'm asking a 6 any other basis for classifying the Rm
7 broader question, I think, Mr. Finke, and 7 contractual indemnity claims that we've BE
8 I'm not asking for a legal conclusion. 8 just been discussing with the personal
9 MS. HARDING: Okay. 9 injury claims, the asbestos personal
10 And -- 10 | injury claims? ii
11 Q. I'm asking for what is it 11 MS. HARDING: Object to PY‘s
12 that's factually similar about these CLi12 form. ‘a Cte
13 claims that warrants in the debtor's view 1 3 A. The basis I've laid out for PT pry
14 placing them all into Class 6. i 4 the definition of asbestos PI claims. Ov):
fl MS. HARDING: Object to LS Q. Okay. Mr. Finke, why are R,
16 form. 16 contractual indemnity claims arising from Be
al i MR. LIESEMER: Object to 17 the asbestos claims that you just
iL form. 18 described placed into Class 6 while other
19 MS. HARDING: Foundation 19 contractual indemnity claims against Grace
20 and it... 20 are placed into Class 9?
21 A. Imay be misunderstanding 21 MS. HARDING: Object to Pes
22 your broad question, but I have to again 22 form and to the -- and object to Cr
23 respond by referring to the factual 23 the extent it calls for a legal
24 circumstances laid out in the definition 24 conclusion. If you can answer, go

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 9 of 18

31 (Pages 118 to 121)

Page 118 Page 120
cr) 1 ahead. F's nl Q. Do any of the debtors
2 A. Because the contractual 2 control Fresenius?
3 indemnity claims that arise based out of fs | 3 A. No.
4 an asbestos PI claim all seek toimpose vy-} 4 Q. Do any of the debtors
5 liability upon the debtors asaresultof ™ 5 control Sealed Air?
6 the debtors’ asbestos-related products or Ge 6 A. No.
7 operations. 7 MR. BROWN: How did we mark
TS Q. Okay. Is Fresenius a “no the transfer agreement?
9 separate entity from any of the debtors 9 MS. BAER: The insurance
10 today? 10 transfer agreement is Exhibit 4.
11 MS. HARDING: Object to LEN (Off the record.)
12 form. 12 BY MR. BROWN:
AS Q. Separate legal entity. Q. We talked about this
14 A. Yes. 14 _ earlier. Can you take a look at Schedule
15 Q. How about Sealed Air 15 1 to Exhibit 4?
16 Corporation? Is that a separate legal 16 A. Yes.
17 entity? 17 Q. My question is: Does
18 A. Yes. 18 Fresenius have any rights under the
19 Q. And they're both 19 policies listed on Schedule 1?
20 non-debtors, correct? 20 MS. HARDING: Object to
21 A. Correct. 2 1 form.
22 Q. Are they -- do they have 22 A. I don't believe so.
23 separate -- does Fresenius and the debtors (23 Q. How about Sealed Air?
24 have separate management? eo A. I don't believe so.
Page 119 Page 121
1 A. Yes. 1 MR. BROWN: Why don't we
2 Q. And would your answer be 2 take a five-minute break. I may be
3 the same with respect to Sealed Air and 3 finished.
4 the debtors? 4 MS. HARDING: Okay.
5 A. Yes. CT 5. (Recess taken.)
6 Q. Does Fresenius and the 6 BY MR. BROWN:
7 debtors or do Fresenius and the debtors Z Q. Mr. Finke, I have a few
8 have any shared operations? 8 more questions for you and then I'll pass
9 A. Not that I'm aware of. 9 you along to the next questioner.
10 Q. Do Sealed Air and the 10 Can you take a look at Section 11.9
11 debtors have any shared operations? 11 of the Plan again? That's the exculpation
12 A. Not that I'm aware of. 12 provision.
3 Q. Do any of the debtors have 3 A. Yes.
14 any ownership interest in Fresenius? 14 Q. Do you understand the scope
15 MS. HARDING: Object to 15 of the exculpation provision in terms of
16 form. 16 the entities and individuals that are
17 A. I don't know but I'm not 17 actually exculpated under this
18 aware of any. 18 provision?
19 Q. Do any of the debtors have 19 MS. HARDING: Object to =|
20 any ownership interest in Sealed Air? C120 form.
1 MS. HARDING: Same 21 A. Yes, I believe I do. ~T
22 objection. 22 Q. Okay. Well, let me give
23 A. Again, I don't know but I'm 23 you a couple of examples. It's includes
24 not aware of any. 24 _ the Asbestos PI Committee, correct?

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 10 of 18

C2.

co
CwWOIKRUAWNEI

SEs
m WN F

15

cL

NNNNE RP RRR ee ee '
WHER OLA AAIOKRWNHOEPOWCDYAGBRWNHE I

es

32 (Pages 122 to 125)
Page 122/ Ch Page 124
arr Pts
A. Yes. me  H. A. Yes. ox:.
Q. And we talked a little S a: By 2 Q. Why don't you go to the ey:
about the Asbestos PI Committee being g¢ | 3 defined term Representatives which appears R,
individual asbestos claimants, correct? *)4 at 33 of the Joint Plan. It's definition BE
AWEEAYICS: 1/2 number 177.
Q. And you testified that, by | 6 MS. HARDING: I think I -
and large, they perform their duties as | 7 lost the line of -- did you
committee members through their asbestos | 8 previously ask if the TAC was
personal injury counsel, correct? | 9 covered --
A. Correct. 10 MR. BROWN: Yes.
Q. Okay. And that would jli MS. HARDING: -- by the
include, among other individuals, Mr. Rice /12 exculpation in 11.9?
and his law firm, correct? #13 MR. BROWN: Yes.
A. Yes, I believe that's p14 MS. HARDING: I'm just
right. p15 looking and | don't see that so I
Q. And Mr. Cooney and his law 6 just wanted to make sure that the
firm? g1l7 record wasn't unclear.
A. Well, I guess what I don't y18 MS. BAER: Barbara.
know is which of the -- which of the 19 MR. BROWN: Asbestos PI
asbestos plaintiffs' attorneys we've £20 Trust Advisory Committee.
identified are -- or have clients that are 21 MS. HARDING: All right.
members of the committee. I just don't p22 MR. BROWN: We're happy to
recall. 523 have it taken out.
Q. Okay, fair enough. eet MS. HARDING: No, no. I 1: |
Page 123] Page 125
There are also -- the TAC is within was talking because I was going too
the scope of this exculpation provision, fast and I just didn't see it and I
correct? C1. —_— wanted to make sure. am, PP's
A. Yes. A. Okay. On}:
Q. So it would include the TAC i Q. Sitting here today and BR:
members, Mr. Weitz, Mr. Cooney, Mr. Budd |) looking at the defined term >
and Mr. Rice, correct? i) Representatives and seeing its use in RE
A. Correct. Section 11.9 of the Plan, do you have any
Q. And to the extent that the idea of the scope of this exculpation
firms -- to extent that any members of the provision in terms of who's covered by
Asbestos PI Committee are represented by it?
the firms of Mr. Cooney, Mr. Rice, Mr. yrZ~ MS. HARDING: Object to
Weitz and Mr. Budd, they too would be 3 <1 ~~ form. xl -
covered by it, correct? 14 A. Well, certainly the Fes
A. Correct. 415 definition of Representatives gives me an OY).
MS. HARDING: Object to 16 idea as to the scope of the exculpation A,
form. 7 provision. QE
Q. Allright. Now, about 18 Q. Okay. But I mean the
halfway down the provision ithasa phrase {19 actual identities of the individuals, you
that says "or any of their respective PN> 20 couldn't -- you couldn't give me a list
Representatives". Do you see that? 21 today, could you?
A. Yes. 22 A. No.
Q. And Representatives is in e3 Q. Okay.
initial cap R, correct? 24 A. I could not. ¢
aoe

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 11 of 18

PC's Ob,:

33 (Pages 126 to 129)

1

B i
Cw Ol Ao BR WONYE

-
bh

Ae
Hi NO

5

R, BE Page 126

Q. Do you have any idea who
the advisors or consultants are of Mr.
Cooney's firm or Mr. Weitz's firm or Mr.

Rice's firm or --
A. No.
MS. HARDING: Object to [| ¥""s
form. Cre
A. No, Ido not. ;

Q. Okay. How does the court db)
know if it confirms this Plan who all's Re
covered by the exculpation provision,

OOD Os

luo OH

4

given the breadth of the definition of 12
Representatives? 13
MS. HARDING: Object to-] pes 4
form -- Cre L5
MR. LIESEMER: Object to 6

form

MS. HARDING: -- to the
extent it calls for a legal
conclusion. eoi§
A. Iwould be speculating that pe’,

perhaps they'll be -- those individuals Op):

would be identified to the court atsome

point, but I don't know. Be fF
Page 12

Q. Do you know how far back
the exculpation provision goes in terms of
time?

A. No, because it's -- it's
not set up to be framed in terms of a
beginning date and an end date. It's --
the scope of the provision relates to
conduct in connection with or arising out

fl transcript of Peter Lockwood and listened
#2 to the -- listened in on the deposition of
£3. Jeff Posner which I viewed as preparation

£4 for this deposition. That's all I can

_—. CL Page 129

of the Chapter 11 cases so that, to my ‘|9_ provided?
understanding, that could encompass 1 GC MS. HARDING: Object to —
conduct before the Chapter 11 cases were 11 C1 _ form. 2
commenced, conduct afterwards. 12 A. Yes,I do. I can't think

Q. How long before it was 13 of anything that I disagreed with so I
commenced? +14 would say, in general, yes.

MS. HARDING: Object to - Q. And you said previously

form. 6 that you generally agreed with the

A. The provision does not PFs Gye 417 ~~ deposition testimony of Mr. Lockwood as
say. &, well, correct?

MR. BROWN: Okay. All 2.
right. I think with that I'm going RO
to pass you along to Miss Alcabes, 21
and I may -- I'll reserve the right 22
for any follow-up questions after 23
the others have finished. Thank 24

G

Page 128

you.
THE WITNESS: You're
welcome.

EXAMINATION BY
MS. ALCABES:

Q. Good afternoon, Mr. Finke.
My name is Elisa Alcabes. I'm counsel for
Travelers Casualty & Surety Company.
We've met before.

A. Yes.

Q. Can you just tell me what
you did to prepare for your deposition
today?

A. ITreviewed the Plan; a
number of the exhibits to the Plan, some
more than once; met with counsel, Grace's
bankruptcy counsel, to discuss various
provisions of the Plan and related
documents. I'm trying to think if there
is anything else. Read the deposition

recall at this point.

Q. About how much time did you
spend with Grace's bankruptcy counsel
preparing?

A. About 15 hours.

Q. And you said you listened
in on the Posner deposition. Do you agree
with the testimony that Mr. Posner

A. Correct.

Q. You mentioned that there
was one point in his deposition where he
seemed to have equated coverage in place
with the reimbursement agreements. Is

that right.

FEE eB

Tl
Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 12 of 18

34 (Pages 130 to 133)

Page 130/ CV Page 132 prs

1 A. Yes. il A. That the insurance company Ob):
2 Q. Do you recall whether there 2 agreed to pay a definite amount of money R;
3 was a substantive issue that you had with 3 in exchange for an indemnification Re:
4 it or whether he just seemed to have 4 agreement from Grace to indemnify the E ’
5 inadvertently referred to reimbursement 5 insurer in the event that claims were made
6 agreements as coverage in place? 6 against -- in the event that asbestos
7 A. I would -- I don't know if |.7 claims were made against the policy.
8 there was -- I don't recall having a 8 Q. And can you turn to
9 substantive disagreement. At the time I 9 Schedule 3 which is the schedule of

10 was -- I had focused on the defined terms 10 asbestos insurance reimbursement

11 and ifhe was using those terms as defined 11 agreements?

12 terms in the Plan, then it occurred to me 12 A. Yes.

13 that he was making an incorrect statement 13 Q. Did you review any of those

14 since, of course, he's speaking and didn't 14 agreements prior to your deposition?

15 identify them as whether or not he was 15 A. No.

16 referring to them as defined in the Plan. 16 Q. Have you ever seen any of

17 He may or may not be incorrect in equating 17 the agreements?

18 the two; I don't know. 18 A. No, Ihave not.

19 Q. I'm going to represent that 1 Q. Are you generally familiar

20 we've looked through the Lockwood 20 with what the agreements say?

21 transcript and I'm not sure which 21 A. Again, on a very general

22 reference you're talking about and we 22 level.

23 would like to understand what it is that 23 Q. What's your general

24 you were disagreeing with to the extent it 24 understanding?

Page 131 Page 133

A. That the parties to the
agreement worked out procedures or
protocols pursuant to which the insurers
would reimburse the insured party in whole

may be substantive so we would ask during
a break or subsequent to the deposition if
you would please let us know which portion
of the transcript you're referring to.

or in part for asbestos claims paid by the
insured.

Q. To your understanding, who
was the insured party that you're
referring to?

Right now, can you turn to what's
been marked as Finke Exhibit 4, whichis,
the transfer agreement, and turn to
Schedule 2. That's the schedule of BE
asbestos insurance settlement agreements, }

PrPP PEF
OPWNHEROWATHA ups wne

NPP PePePPPPreP
DFOMIDUTUBWNHRPODOOITWHDUAWDNHE

correct? A. Grace or one of the Grace
A. Correct. debtors.
Q. And in preparation for your Q. Do you have an
deposition, did you review any of these understanding of the obligations that
agreements? Grace undertook in executing those
A. No, I did not. agreements?
16 Q. Are you generally familiar A. No.
17 with any of the agreements? Q. Do you have a general
18 A. No, lam not. understanding?
19 Q. Do you have a general A. No, I don't.
20 understanding of what the agreements Q. Do you have an
21 provide? 21 understanding that Grace undertook to
22 A. Very general. 22 perform a certain allocation with respect
3 Q. What's your general 23 to claims that were going to be -- with
24 understanding? 24 _ respect to claims that they were going to

=

ae
Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 13 of 18

51 (Pages 198 to 201)
Page 198 Page 200
db to our rights. 1 holders of those claims.
2 MR. LIESEMER: Well, wait a 2 Q. And that's covered in
3 minute. There was a dialogue 3 Section 8.2 --
4 between the Libby claimants’ 4 A. Correct.
5 representatives and the ACC with 5 Q. -- of the amended Plan of
6 respect to the TDP. They weren't 6 Reorganization, correct?
7 completely shut out of the -- 7 A. Correct.
8 MR. LEWIS: That's the only 8 Q. By the way, you indicated
9 thing that was discussed with us, 9 in earlier testimony that there are -- or
10 that is correct, counsel. 10 suggested that there might be more
fk 1. Q. In any event, I'll get on 11 discussion or more changes or changes
12 to the next area because counsel's 12 coming to this Plan.
13 directed you not to answer any questions me A. I don't recall discussing
14 concerning the first matters relating to 14 — that, but --
15 the Plan. The second one is the funding a Q. I thought you said that
16 of the asbestos PI Trust including value 16 there were issues that hadn't been
17 at time of negotiation of assets to be 17 resolved related to this Plan. Maybe I
18 used to fund the Asbestos PI Trust. Oh, 18 misunderstood you.
19 I'm sorry, I've got the wrong man there. 19 A. There are details -- what I
20 That's LaForce. 20 recall talking about are details with
21 Go to asbestos -- go to injunctions 21 respect to some of the Plan documents that
22 onpage 10. The first area is the 22 need -- still need to be worked out. I
23 asbestos PI channeling injunction. You're 23 don't recall addressing whether there
24 designated to testify about that? 24 would be changes to the Plan, although I |
Page 199 Page 201
1 A. Yes. 1 believe there -- well, the Plan itself
2 Q. And you're familiar with Ci, 2 provides for the ability to modify it.
3. the asbestos PI channeling injunction and 3 Q. Now, this is the first
4 the effect it has on those of interest to 4 Amended Joint Plan. Is there a second
5 this litigation? 5 Amended Joint Plan in the offing or does
6 MS. HARDING: Object to 6 this look like it, for the most part?
7 form. 7 A. Iexpect there will be some
8 A. Yes. 8 changes to this Plan before -- before
9 Q. First of all, what is a Lo final confirmation.
10 channeling injunction? 10 Q. Let's go to Section 8.1 =]
11 A. It's -- 11 relating to channeling injunctions -- the
i MS. HARDING: Just object. 12 channeling injunction -- excuse me -- and
13 Are you asking him under the -- the 13  §.2. I apologize.
14 definition of channeling injunction 14 A. Uh-huh.
8) under this Plan or just generally? 15 Q. Does that treat the Libby
16 MR. LEWIS: I'm just asking 16 claimants, PI claimants, just like all
7 him what a channeling injunction 17 other PI claimants?
18 is, what is his understanding of a 18 A. Yes.
19 channeling injunction. 19 (Mr. Plevin enters the
20 A. An injunction that requires 20 deposition room)
21 holders of certain types of claims to 21 Q. Okay. Now, the second area
@2 pursue those claims only against, as in 22 of inquiry was development of asbestos PI
23 this case, the Asbestos PI Trust. It 23 channeling injunction among Plan
24 makes the Trust the sole recourse for 24 _ proponents, including negotiations, other

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 14 of 18

73 (Pages 286 to 289)
Page 286 Page 288
1 gave relating to the 17 Maryland Casualty 1 Plan treatment of so-called independent
2 _ topics to which you as the Grace 2 claims against Maryland Casualty?
3 designated representative disagree? 3 A. Yes, because I hadn't -- I
4 A. No. 4 hadn't considered my earlier answer
5 Q. I wanted to ask you some 5 viewing it from the perspective of the
6 questions about the so-called independent 6 terms or scope of the indemnification
7 claims against Maryland Casualty that Mr. | 7 obligation by Grace, which is what this
8 Lewis asked you about. During his 8 testimony relates to.
9 deposition, Mr. Lockwood gave an example | 2 Q. Mr. Lockwood's testimony?
10 of what he deemed to be an independent 10 A. Yes. Sorry.
11 claim, and I'll quote from page 517 of his ile. Q. And, Mr. Finke, would you
12 deposition transcript. 12 agree with me that there's no provision of
13 Mr. Lockwood said: "I mean, if 13 the Plan that expressly carves out Libby's
14 somebody in Libby, Montana is run over by [14 _ so-called independent claims against
15 an insurer's truck on the way to work, of 15 Maryland Casualty from the asbestos PI
16 course the injunction doesn't bar the 16 channeling injunction?
17 claimant from suing that insurer." cy A. I would agree with that.
18 My question for you, Mr. Finke: Is 18 MR. WISLER: That's all I
19 do you agree with that example as an C119 have. Thank you.
20 example of an independent claim -- 20 EXAMINATION BY
21 A. Yes. 21 MR. COHN:
22 Q. -- if it existed? 22 Q. Mr. Finke, Jay Cohn for
23 A. Yes. 23 Federal Insurance Company.
24 Q. Now, as to the Plan's 24 Earlier you weren't able to testify
Page 207| ey Page 289
1 treatment of any other so-called 1 about the TDPs. Is that because Grace had
2 independent claims by the Libby claimants, || 2 | nothing to do with the formulation of the
3 I'm going to ask you to please read from | 3 TDPs?
4 page 525, line 1 through 527, line 24 of U4 A. No.
5 the transcript of Mr. Lockwood's > MS. HARDING: Object to
6 deposition and then I'm going toask youa | 6_ form but go ahead. ~
7 question. cul 7 THE WITNESS: Sorry. ‘
8 A. Okay. 8 A. No. The primary reason is
9 Q. I'm going to ask youa | 9 that Grace -- while Grace was not a
10 couple of questions. i 0 principal drafter of the TDPs, when we
11 A. Okay. 11. were provided with a draft, I asked Jay
12 Q. Take your time, please. 12 Hughes to review it and provide any
13 MS. HARDING: 525, line one 13 comments that he had on it, and of course
14 through 527, line 24? 14  weall -- our outside counsel also
TS) MR. WISLER: Correct. 15 reviewed it. But, in essence, I delegated
16 (The witness reviews the document.) |L6 — responsibility to Jay since he is much
17 A. Okay. 17 more familiar with the personal injury
18 Q. As the designated Grace 18 litigation, claims history, disease
19 representative, do you agree with the 19 levels, et cetera. So I personally am not
20 testimony of Mr. Lockwood that you just 20 the most knowledgeable at Grace about the
21 read? 21, TDPs.
22 A. Ido, yes. 22 Q. Does W.R. Grace have an
23 Q. And does that testimony 23 understanding of what the concept of
24 clarify your earlier testimony about the 24 _ insurance neutrality means?

Ov);
Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 15 of 18

TPs Ovi: 74 (Pages 290 to 293)
J
ci) Page 290 a Page 292
_<] nv g — ere Pr’,
1 Ax Yess fl. Q. Could you tell me -- Ob:-
2 Q. Could you explain to me 2 A. -- what the holding -- R
3 what W.R. Grace's concept -- understanding ; |3 Q. Could you tell me your
4 of that concept is? 4 | understanding of what happened in UNR?
ao MS. HARDING: Just object Jee’; ,| 5 MS. HARDING: Object to] Tee's
6 to form to the extent it calls for Ore 6 form, object to the extent that it Che
7 a legal analysis or legal 7 calls for Mr. Finke's legal
8 conclusions. To the extent that 8 analysis of the decision and I
Ct 9° you can answer... __ | 9 think it's overly broad and
10 A. [think our understanding Prs flO impossible to answer. But to the
11 of insurance neutrality is well wordedin Ov, 1 cr extent that you can answer... pe
12 Section 7.15(a), which is that none ofthe | 12 MR. FREEDMAN: Do you have .
13 Plan provisions, other than a few specific 13 a copy of the case or citation, Oe}:
14 — exceptions, will operate to impair any of 44 just to make sure we're talking R
15 the asbestos company's contractual rights 5 about --
16 under their policies or settlement 6 MR. COHN: 992 Fed 2nd.

||L7 agreements or reimbursement agreements. 17 | 1101.

}|18 Q. Okay. So if you were to 18 MS. HARDING: AndIalso~ } ~| @p*,
19 carve out the first independent clause of 19 object to the extent that the Cte
20  7.15(a) which reads: "Except to the 20 questioning is seeking to have a
21 extent provided in this Section 7.15," the pi discussion with the witness about

22 balance of that paragraph sets forth W.R. p2 the legal conclusions that the

123 Grace's understanding of the concept of 23 Court might or might not reach as

| 24 insurance neutrality; is that right? ee 4 to the Plan and the application of

_

Page 291 Page 293
1 MS. HARDING: Object to Us 1 certain precedent in law. I think {ts
cu) 2 form. 2S its improper. ao
TT 3 A. Idon't entirely agree with mai [3 Q. Do you need to hear the )
/| 4 your statement or your question because I 4 question again? Pry
{| 5 think the definitions of certain terms, Pi Hi) 5 A. Yes, Ido. te}.
| 6 and in particular the asbestos insurance by | | 6 (The reporter reads the TR

|| 7. coverage defenses, also relates to our Kp)? record as follows:

8 understanding of insurance neutrality. 8 "QUESTION: Could you tell
9 Specifically, that that -- that definition 9 me your understanding of what

'(|10 identifies a couple of defenses that the Jo happened in UNR?")

|11 insurance companies would not be able to Ve MS. HARDING: Object. Are “TRE

‘({L2 assert after confirmation. 2 you asking about the decision or Crr

13 Q. Those would be exceptions 13€% what happened in the case?

(4 toa true insurance neutrality, right?  __4)4 MR. COHN: What the result | res
LS MS. HARDING: Object to ) Y's [5 was to the insurer in that case.
16 form and to the extent that it =r 6 A. My understanding is that

CLIL7 calls for a legal conclusion. aes) 7 the court -- es
18 A. Yes. es 8 MS. HARDING: Same “1 te oS
19 Q. Thank you. Ou: 19 C1 objections but go ahead. | _| Ge
20 Are you familiar with the UNR A. -- held that the h._
21 decision from the Seventh Circuit? confirmation of a Plan of Reorganization Pr's
22 A. I've heard of it. I've not triggered insurers’ obligations to pay. Ob);
23  readit. [have avery general Q. Okay. I will represent to R
2 4 understanding of -- you that UNR as part of its settlement was

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 16 of 18

PTs Ov\:

75 (Pages 294 to 297)

CL R

to pay 150 million dollars of its stock
into the Trust and that the holding was
that the confirmation of that Plan
required the insurer to immediately pay
UNR the value of that stock. And my
question to you is: Is it the intention

of the insurer neutrality Plan provision
in this Plan to protect the insurers from
9 such a result in this case?

Onn owes WN FE

10 A. I believe that it is

11 Grace's intent, yes.

LD. MR. COHN: Okay, I have no
13 other questions.

14 MR. BROWN: [ have a couple
15 of follow-ups.

16 MS. HARDING: Anybody on
17 the phone that has questions?

18 MR. KRAMER: I know Dan
ng Speights will have questions.

20 MR. DOWNEY: I have

21 questions. This is Phil Downey for
22 Scotts but I'm happy to wait my

23 turn.

24 _ MR. COHN: If I may suggest

1 that PD be held to the end?
2 MS. HARDING: Yeah, so
8 we'll wait for PD folks to the end.
4 Are there insurers on the phone
5 that have any questions? Any
6 insurers on the phone? No?
7 MR. MANGAN: I may have
8 questions. This is Kevin Mangan on
9 behalf of the State of Montana.
10 MS. HARDING: Okay, great.
11 EXAMINATION BY
12 MR.MANGAN:
13 Q. Good afternoon, Mr. Finke.
14 Can you hear me all right on the phone?
LS A. Yes.
16 Q. Okay, great.
17 Are you aware the State of
18 Montana's filed a claim for contribution
19 and indemnification against Grace?
20 A. Yes.

21 Q. And in this bankruptcy,
22 obviously?
23 A. Yes.

2 4 Q. And a proof of claim.

Page 294

Page 295

OArANnAOoP WN EF

WO

inthe Plan,

Page 296

How is the State classified under
the Plan?

MS. HARDING: Object to
form. Go ahead, to the extent you
know.

A. Asa Class 6 indirect PI
Trust claim.

Q. What is the basis for that
classification?

A. Well --

MS. HARDING: I'm just
going to object to the extent that
it calls for attorney-client
privilege or work product
communications. To the extent you
can answer without divulging that,
then go forward. And to the extent
that -- I do agree that it's broad
and I'm not sure I understand what
he's asking about, but if you do,
Richard, go ahead.

A. My answer is going to be
the definition of indirect PI Trust claim

Page 297

Q. Is it your position that
contribution and indemnification claims
fit within the indirect PI definition?

A. Yes.

Q. Mr. Lewis had asked you a
series of questions with regard to the
treatment of Libby claimants’ claims under
the Plan and their claims specifically as
to Maryland Casualty, the State of Montana
and Burlington Northern. Do you recall
that questioning?

A. Yes.

Q. I believe you testified --
and obviously correct me if I'm wrong --
that the Libby claimants' claims against
the State that give rise to the State's
claims against the debtors for
indemnification or contribution go into
the Trust.

MS. HARDING: Object to
form.

Q. Is that your testimony?

A. That the Montana -- that
the State of Montana's claims for

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 17 of 18

85 (Pages 334 to 337)

kr
DMO MDAAA EWN

Fe
bh

PRPePPEEF
TOU BWN

=
oC

Page 334

settlement agreement in front of you
involving Commercial Union?

A. Yes.

Q. And there was a contractual
indemnity provision in there? Do you
recall that?

A. Yes.

Q. And we had a discussion as
to what type of claim that was and you
indicated that that was an insurer
indemnified TDP claim?

MR. LIESEMER: Object to
the form.

Q. Do you recall that?

MS. HARDING: Object to
form and to the question to the
extent that it's maybe mixing
apples and oranges; I'm not sure.
I'm just confused.

A. I believe -- I don't think
I identified it as such. I think I might
have agreed that it fit the definition
that's in the TDP.

Q. Yes. I thought you said

Orn OP®WNEH

Page 336

form. To the extent you know,

but...

Q. So would those be examples
of other contractual indemnity claims in
response to Mr. Plevin's question to you
of earlier today that are classified as
Class 6 claims?

A. Yes, I believe they would
be.

Q. Okay. And I think you
mentioned -- you reiterated here just a
moment ago that the classification of the
Fireman's Fund Insurance Company
contractual indemnity claim was something
that was under discussion, I think was the
term you used.

A. Yes, sir.

Q. Is that also true of the
contractual indemnity claims held by
settled asbestos insurance companies?

MS. HARDING: Object to
form.

A. Not to my knowledge.

Q. With respect to the

Page 335

that's what it was, but maybe I'm wrong.

A. Okay, maybe I'm wrong. At
this hour, it could go either way.

Q. Well, I'm not sure what to
make of that. Maybe I should go fishing
here.

What I'm driving at, is to the
extent that settled asbestos insurance
entities have contractual indemnity claims
against Grace under their respective prs
settlement agreements, those are Ovy.
classified as Class 6 claims, are they ®3%%;
not? ¥

A. Yes.

MR. LIESEMER: Object to
form.

Q. That's why my client, One

Beacon, got a Class 6 ballot, [presume?
A. Yes. PX

Q. And that's why my other Qey. |

client, Seaton, got a Class 6 ballot,  *3%%;
correct? 3
AGES:

©

MS. HARDING: Object to

Page 337

Fireman's Fund Insurance Company claim,
when you say it's under discussion, do you
mean to suggest that it may be classified
differently than Class 6?
MS. HARDING: Object to the
extent that it calls for
attorney-client, work product or
joint interest communications. If
you can answer without divulging
those, go for it.
A. Yeah, I think that follows
from that, that it's some aspect that's
under discussion.
Q. Is one of the other
classifications being considered Class
9?
A. Idon't feel I can answer
that.

n9ct Q. Different subject. a

Earlier today I was asking you a
series of questions regarding Section 7.15
in the Plan. That's the insurance
neutrality provision. We had a lengthy
discussion about 7.15 and its interaction

Case 01-01139-AMC Doc 22330-3 Filed 07/02/09 Page 18 of 18

86

(Pages 338 to 341)

CL

PREPS
OPWNHrFOWMINWHUOARWNE

fF
ON

PP
co ~

Page 338
with 11.9, you'll recall? Pr’s
A. Yes. Ov':
Q. That's the exculpation J
awe wR BE
provision.
A. Yes.

Q. You indicated that you had
some doubt, you thought there was some
other provision that you were thinking
about but couldn't recall that might --
I'm paraphrasing -- take precedence over

Swale al

the insurance neutrality provision in
7.15. Do you recall that testimony?
A. Irecall that, yes.
Q. Okay. Since or during one
of the many breaks we've had today, have
you been able to figure out what provision
it was that you were thinking of?
A. Yes, I believe so, and it
would not have the effect of overriding
the 7.15(a). The provision I was thinking
of related to the court retaining
exclusive jurisdiction over a number of
issues, but even with -- first of all,
that would not -- I don't think that would

Page 33

apply here. But especially with respect
to insurance issues, as you probably know,
the jurisdiction is not exclusive.
Q. That was the only other
provision?
A. Yeah, that was -- that is
the only one that I had in mind.
MS. HARDING: And object to “~~
the form of your question with the
use of the term "other" because I
don't think that he testified that
there was --
MR. BROWN: I think he
mentioned that there was at least
one other provision, there might
have been two, and I'm just trying
to clarify whether the one he just
referred to involving the retention
of jurisdiction is the only other
provision.
MS. HARDING: That he was
thinking about.
MR. BROWN: That he was
thinking of --

OP WDE

A

er
he

fe
QW

a
ws

il5

Page 340

THE WITNESS: Yes.

MR. BROWN: -- when he was
suggesting that there was an
additional section to Section 7.15
in the Plan.

A. Yes. Yes, that's the only

MR. BROWN: All right.

MS. HARDING: I think --
object to -- I'm just going to
object to the form of the question,
Mike, because I think your -- maybe
I'm wrong, but I think that your
questions are suggesting that he
testified that there was a
provision in the Plan that
overrode -- overrides Section
7.15(a) and I don't think that was
his testimony. He said he was
going to look for one and he said
he didn't find one.

MR. BROWN: The one he had
in mind was the one he just
testified to.

On nD OP WN FP

PPPPPPrPrPrPr
WO OAIKHDOBWNHE DL

RO BO ND BD
WNHER ©®

BO
Hd

Page 341
MS. HARDING: Yes, yes.
THE WITNESS: Correct.

MS. HARDING: Okay, sorry.
I just wanted to make sure we're
clear.

MR. BROWN: Thank you, Mr.
Finke.

MS. HARDING: Mr. Speights,
are you on?

MR. SCHIAVONI: Barbara, I
just had 10 minutes of questioning.
I can do it after Mr. Speights or
before, whenever you want. This is
Tanc Schiavoni.

MS. HARDING: Oh, Tanc, Mr.
Schiavoni.

MR. SCHIAVONI: I'll be
quick. I had to get off the line
to book a flight to Pittsburgh.

MS. HARDING: Is Mr.
Speights on the line?

MR. SPEIGHTS: I'm on, and
I don't mind if the gentleman wants
to go first.

